                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

WILLIAM SMITH,                                )
                                              )   CIVIL ACTION
Plaintiff,                                    )   FILE NO._________________________
                                              )
       vs.                                    )
                                              )   COMPLAINT AND TRIAL BY JURY
I.C. SYSTEM, INC.                             )   DEMAND
                                              )
Defendants.                                   )
                                              )
                                              )


                                      NATURE OF ACTION

       1.       This is an action brought pursuant to the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq.

                                  JURISDICTION AND VENUE

       2.       This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1331.

       3.       Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), as the

acts and transactions giving rise to Plaintiffs’ action occurred in this district, Plaintiff

resides in this district, and Defendant transacts business in this district.

                                              PARTIES

       4.       Plaintiff William Smith (“Plaintiff”) is a natural person who at all relevant

times resided in Kansas City, Missouri (Jackson County).

       5.       Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).


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       6.       Defendant I.C. System, Inc. (“Defendant”) is a corporation that at all relevant

times was engaged, by use of the mails and telephone, in the business of attempting to

collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

       7.       Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                   FACTUAL ALLEGATIONS

       8.       Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt

owed or due, or asserted to be owed or due, a creditor other than Defendant.

       9.       Plaintiff’s alleged obligation arises from a transaction in which the money,

property, insurance, or services that are the subject of the transaction were incurred

primarily for personal, family, or household purposes – namely, cable television services

(the “Debt”).

       10.      Defendant uses instrumentalities of interstate commerce or the mails in a

business the principal purpose of which is the collection of any debts, and/or regularly

collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be

owed or due, another.

       11.      In connection with the collection of the Debt, Defendant sent Plaintiff a

written communication dated March 16, 2015.

       12.      A true and accurate copy of Defendant’s March 16, 2015 letter to Plaintiff is

attached to this complaint as Exhibit A.

       13.      Defendant’s March 16, 2015 letter was its initial communication with

Plaintiff with respect to the Debt.



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       14.      Defendant’s March 16, 2015 letter identified the balance of the Debt as

$596.79.

       15.      Thereafter, Plaintiff contacted Time Warner to discuss the Debt, and spoke

to a representative named Ashley, employee #E203096.

       16.      Ashley advised Plaintiff that the Debt was actually for a William T. Smith

who lived in Lee’s Summit.

                                         COUNT I
                              VIOLATION OF 15 U.S.C. § 1692e(2)(A)

       17.      Plaintiff repeats and re-alleges each and every factual allegation above.

       18.      Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing the

character, amount, or legal status of the Debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(2)(A);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                1692k(a)(2)(A), in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible

                by law; and

             f) Awarding such other and further relief as the Court may deem just and

                proper.


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                                       COUNT II
                             VIOLATION OF 15 U.S.C. § 1692e(10)

      19.      Plaintiff repeats and re-alleges each and every factual allegation above.

      20.      Defendant violated 15 U.S.C. § 1692e(10) by using false, deceptive, or

misleading representations or means in connection with the collection of the Debt.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

               1692k(a)(2)(A), in the amount of $1,000.00;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

            d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

               action pursuant to 15 U.S.C. § 1692k(a)(3);

            e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible

               by law; and

            f) Awarding such other and further relief as the Court may deem just and

               proper.




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                                TRIAL BY JURY

21.   Plaintiffs are entitled to and hereby demand a trial by jury.



Dated: March 8, 2016.

                                          Respectfully submitted,

                                          /s/ Anthony LaCroix
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